  Case 3:20-cv-01900-WQH-MDD Document 10 Filed 12/07/20 PageID.31 Page 1 of 1




                        United States District Court
                            SOUTHERN DISTRICT OF CALIFORNIA


THERESA BROOKE, a married woman
dealing with her sole and separate claim,
                                                                  Civil No. 20cv1900-WQH-MDD
                                                   Plaintiff,
                                            V.
                                                                            DEFAULT
NORCAP GENERATIONS LLC, a
Delaware limited liability company dba
Quality Suites San Diego Sea World Area;
VIVO INVESTMENTS LLC, a Delaware                 Defendant.


        It appears from the record in the above entitled action that Summons issued on the Amended
Complaint Filed on November 09, 2020 has been regularly served upon each of the Defendants
hereinafter named; and it appears from the affidavit of counsel for Plaintiff and the records herein that
each of the Defendants has failed to plead or otherwise defend in said action as required by said
Summons and provided by the Federal Rules of Civil Procedure. Now, therefore, on request of counsel
for Plaintiff, the DEFAULT of each of the following Defendants is hereby entered: VIVO
INVESTMENTS LLC, a Delaware limited liability company.




Entered On: Dec 7, 2020                                              JOHN MORRILL, Clerk of Court
                                                                By: s/ A Garcia
                                                                                       A Garcia, Deputy
